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Che Supreme Court of Alabama

Certificate Of Admission

Io Rett G. Esdale ax Cloke of the Sapreme Court of Ulebama do

Aerob cotlife bol! P. Leigh O'Dell
war dey and legally admitted to practice tw ty the Sapuome Cont of
Mdema on September 24,1993. and 0 now an dlomey

in good standing al the Bar of this Court as shown by the roords of said
JI futher certify that the Supreme Court of tabama is the highest
cccl off record in this. Shale
Dene on March 27, 2012
with, the seal of the Supreme Cou of Akebama attached

